Keith Grant

From:                             Linda Oxford <linda@eko.law>
Sent:                             Thursday, April 18, 2024 2:08 PM
To:                               danny@moorerader.com; Keith Grant; kberexa@fbb.law; Emily Taylor;
                                  danrader@moorerader.com; Ben C. Allen; andre@moorerader.com; Laura Beth; Aaron
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                                  Ashburn; Ashley Walter
Cc:                               Vanessa Baehr-Jones; Heather Collins; Erica Russell; Elizabeth Kramer; Julie Erickson;
                                  Kevin Osborne
Subject:                          B.P., et al. v. Johnson City, et al: Plaintiffs' Subpoenas
Attachments:                      24.04.18 Crowder RV Center Subpoena.pdf; 24.04.18 Eastman Subpoena.pdf; 24.04.18 T
                                  Mobile Subpoena.pdf; 24.04.18 FB Market Subpoena.pdf; 24.04.18 Appalachian
                                  Subpoena.pdf; 24.04.18 Accounting Solutions Subpoena.pdf; 24.04.18 Verizon
                                  Subpoena.pdf


Dear counsel:
Please the attached subpoenas Plaintiffs' counsel is planning on serving. Kindly let us know if you have any objections to
these subpoenas.

Thank you.

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